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                 EXHIBIT A
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                                                        CERTIFICATION


                       We, Étienne Bourgeois, Vice-President, Operations, and Lucas J. Gifuni, Director, Legal

             Affairs, Investment for court-appointed Lead Plaintiff Caisse de dépôt et placement du Québec

             (“CDPQ”), make this Certification pursuant to 28 U.S.C. § 1746 and 15 U.S.C. § 78u-4, and

             hereby certify as follows:

                      1.      We are fully authorized to enter into and execute this certification on behalf of

             CDPQ. We have reviewed the Amended Complaint against NIKE, Inc. (“NIKE”) and certain of

             its current or former executives and/or Directors alleging violations of the federal securities laws

             and authorize the filing of this pleading;

                      2.      CDPQ did not transact in Class B common stock of NIKE at the direction of counsel

             or in order to participate in any private action under the federal securities laws;

                      3.      CDPQ is willing to serve as a lead plaintiff and representative party in this matter,

             including providing testimony at deposition and trial, if necessary. CDPQ fully understands the

             duties and responsibilities of the lead plaintiff under the Private Securities Litigation Reform Act,

             including the selection and retention of counsel and overseeing the prosecution of the action for

             the Class;

                      4.      CDPQ’s transactions in NIKE Class B common stock during Class Period (as

             defined in the Amended Complaint) are reflected in Schedule A attached hereto;

                      5.      In addition to the present matter, CDPQ sought to serve and was appointed as a lead

             plaintiff in the following class action filed under the federal securities laws during the last three

             years:

                      In re PayPal Holdings Inc. Securities Litigation, No. 3:22-cv-5864 (D.N.J.)




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                     6.       Beyond its pro rata share of any recovery, CDPQ will not accept payment for

             serving as a lead plaintiff and representative party on behalf of the Class, except the reimbursement

             of such reasonable costs and expenses (including lost wages) as ordered or approved by the Court.

                     We declare under penalty of perjury pursuant to 28 U.S.C. § 1746 under the laws of the

             United States of America and to the best of our knowledge that the foregoing is true and correct.

                                    10th day of February, 2025
                     Executed this ______


                                                                   ____________________________
                                                                   Étienne Bourgeois
                                                                   Vice-President, Operations
                                                                   Caisse de dépôt et placement du Québec




                                                                     ~
                                                                   ____________________________
                                                                   Lucas J. Gifuni
                                                                   Director, Legal Affairs, Investment
                                                                   Caisse de dépôt et placement du Québec




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                                                             SCHEDULE A

                                                                     Price                          Rolling
              Transaction Type       Trade Date         Shares     Per Share   Cost/Proceeds      Share Count
              Opening Balance         3/19/2021          448,640                                     448,640
              Sales                   3/26/2021         -124,300   $132.9900    $16,530,657.00       324,340
              Purchases               4/26/2021           82,000   $131.6000   ($10,791,200.00)      406,340
              Sales                   4/26/2021         -250,700   $131.6000    $32,992,120.00       155,640
              Purchases               4/30/2021           26,245   $132.6200    ($3,480,611.90)      181,885
              Purchases               5/19/2021          106,510   $132.9600   ($14,161,569.60)      288,395
              Purchases               5/27/2021          106,126   $136.5600   ($14,492,566.56)      394,521
              Purchases                6/8/2021           99,420   $133.3500   ($13,257,657.00)      493,941
              Sales                   6/10/2021          -21,607   $130.9800     $2,830,084.86       472,334
              Purchases               6/17/2021           29,646   $128.9266    ($3,822,157.98)      501,980
              Purchases               6/18/2021           51,433   $128.4100    ($6,604,511.53)      553,413
              Purchases               6/18/2021          168,000   $128.3816   ($21,568,108.80)      721,413
              Purchases               6/21/2021          217,700   $130.0800   ($28,318,416.00)      939,113
              Purchases               6/24/2021          252,967   $133.6000   ($33,796,391.20)    1,192,080
              Sales                   6/25/2021         -197,646   $154.3500    $30,506,660.10       994,434
              Sales                   6/28/2021          -45,000   $152.3600     $6,856,200.00       949,434
              Purchases               6/30/2021           15,200   $154.4900    ($2,348,248.00)      964,634
              Purchases               7/13/2021          125,000   $161.5900   ($20,198,750.00)    1,089,634
              Purchases               7/28/2021          113,295   $165.2922   ($18,726,779.80)    1,202,929
              Purchases               7/30/2021           61,300   $167.5100   ($10,268,363.00)    1,264,229
              Purchases               8/11/2021           31,000   $171.2700    ($5,309,370.00)    1,295,229
              Purchases               8/18/2021          216,629   $168.8100   ($36,569,141.49)    1,511,858
              Sales                   8/20/2021         -141,400   $167.7900    $23,725,506.00     1,370,458
              Purchases               8/31/2021          154,100   $164.7400   ($25,386,434.00)    1,524,558
              Sales                   9/13/2021          -76,300   $159.5200    $12,171,376.00     1,448,258
              Sales                   9/13/2021         -125,000   $159.5200    $19,940,000.00     1,323,258
              Sales                   9/13/2021          -31,000   $159.5200     $4,945,120.00     1,292,258
              Purchases               9/16/2021            5,100   $157.9020      ($805,300.20)    1,297,358
              Purchases               9/17/2021              401   $157.4975       ($63,156.50)    1,297,759
              Purchases               9/20/2021            2,341   $154.1747      ($360,922.97)    1,300,100
              Purchases               9/21/2021            8,741   $155.0200    ($1,355,029.82)    1,308,841
              Purchases               9/21/2021            1,421   $155.0200      ($220,283.42)    1,310,262
              Purchases               9/21/2021              601   $155.0685       ($93,196.17)    1,310,863
              Purchases               9/22/2021            6,023   $157.3618      ($947,790.12)    1,316,886
              Purchases               9/22/2021           19,278   $157.4435    ($3,035,195.79)    1,336,164
              Purchases               9/22/2021              193   $156.7200       ($30,246.96)    1,336,357
              Purchases               9/22/2021           95,238   $157.4400   ($14,994,270.72)    1,431,595
              Purchases               9/22/2021            2,870   $157.4854      ($451,983.10)    1,434,465
              Purchases               9/22/2021            5,061   $156.9279      ($794,212.10)    1,439,526
              Purchases               9/23/2021            6,963   $159.4859    ($1,110,500.32)    1,446,489
              Purchases               9/23/2021              734   $159.4280      ($117,020.15)    1,447,223
              Purchases               9/23/2021              240   $159.9964       ($38,399.14)    1,447,463
              Purchases               9/23/2021           38,314   $159.2153    ($6,100,175.00)    1,485,777
              Purchases               9/24/2021            5,791   $149.5770      ($866,200.41)    1,491,568
              Purchases               9/24/2021              344   $150.3671       ($51,726.28)    1,491,912



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                                                                         Price                          Rolling
              Transaction Type       Trade Date         Shares         Per Share    Cost/Proceeds     Share Count
              Purchases               9/27/2021            1,308       $148.9229      ($194,791.15)    1,493,220
              Purchases               9/28/2021              204       $147.1998       ($30,028.76)    1,493,424
              Purchases               9/30/2021              283       $146.6286       ($41,495.89)    1,493,707
              Purchases               9/30/2021           59,238       $145.2300    ($8,603,134.74)    1,552,945
              Purchases               10/4/2021              458       $147.0714       ($67,358.70)    1,553,403
              Purchases               10/5/2021              383       $149.1696       ($57,131.96)    1,553,786
              Purchases               10/6/2021              357       $148.7716       ($53,111.46)    1,554,143
              Sales                   10/6/2021          -32,300       $148.3284     $4,791,007.32     1,521,843
              Purchases               10/7/2021              352       $150.3000       ($52,905.60)    1,522,195
              Purchases               10/8/2021              249       $151.6490       ($37,760.60)    1,522,444
              Purchases               10/11/2021             249       $152.0740       ($37,866.43)    1,522,693
              Purchases               10/12/2021             176       $151.7784       ($26,713.00)    1,522,869
              Purchases               10/14/2021             133       $158.1800       ($21,037.94)    1,523,002
              Purchases               10/18/2021             173       $158.1200       ($27,354.76)    1,523,175
              Sales                   10/18/2021        -216,629       $159.4300    $34,537,161.47     1,306,546
              Purchases               10/19/2021             129       $158.8300       ($20,489.07)    1,306,675
              Purchases               10/21/2021             107       $159.5600       ($17,072.92)    1,306,782
              Purchases               10/25/2021             485       $164.0476       ($79,563.09)    1,307,267
              Sales                   10/26/2021         -79,382       $163.7892    $13,001,914.27     1,227,885
              Purchases               10/27/2021          14,244       $162.3600    ($2,312,655.84)    1,242,129
              Purchases               10/28/2021           6,193       $164.1769    ($1,016,747.54)    1,248,322
              Purchases               10/29/2021         117,136       $166.3360   ($19,483,933.70)    1,365,458
              Purchases               11/1/2021            6,384       $167.2118    ($1,067,480.13)    1,371,842
              Purchases               11/2/2021            6,645       $167.1329    ($1,110,598.12)    1,378,487
              Purchases               11/9/2021           40,600       $173.3706    ($7,038,846.36)    1,419,087
              Purchases               11/11/2021           1,225       $166.9700      ($204,538.25)    1,420,312
              Purchases               11/12/2021           1,212       $169.0900      ($204,937.08)    1,421,524
              Purchases               11/15/2021          79,382       $168.8500   ($13,403,650.70)    1,500,906
              Purchases               11/15/2021           1,231       $168.8500      ($207,854.35)    1,502,137
              Purchases               11/16/2021           1,232       $171.8300      ($211,694.56)    1,503,369
              Sales                   11/22/2021         -36,100       $174.2400     $6,290,064.00     1,467,269
              Purchases               11/24/2021         140,248       $171.9186   ($24,111,239.81)    1,607,517
              Purchases               11/26/2021          10,674       $169.1266    ($1,805,257.33)    1,618,191
              Purchases               11/30/2021         220,357       $169.2400   ($37,293,218.68)    1,838,548
              Purchases               12/8/2021           62,800       $170.2500   ($10,691,700.00)    1,901,348
              Sales                    1/7/2022          -32,300       $156.9700     $5,070,131.00     1,869,048
              Purchases               1/24/2022           89,000       $146.0000   ($12,994,000.00)    1,958,048
              Sales                   1/26/2022          -37,000       $143.9900     $5,327,630.00     1,921,048
              Sales                   1/31/2022          -45,900       $148.0700     $6,796,413.00     1,875,148
              Purchases                2/4/2022            8,400       $144.4931    ($1,213,742.04)    1,883,548
              Purchases               2/18/2022           28,000       $142.8926    ($4,000,992.80)    1,911,548
              Sales                   2/22/2022          -63,240       $138.4079     $8,752,915.60     1,848,308
              Sales                   2/23/2022          -42,160       $138.1955     $5,826,322.28     1,806,148
              Sales                   2/23/2022          -89,000       $136.8300    $12,177,870.00     1,717,148
              Purchases               2/28/2022           90,000       $136.5500   ($12,289,500.00)    1,807,148
              Sales                   2/28/2022          -72,400       $136.5500     $9,886,220.00     1,734,748
              Sales                    3/3/2022         -184,300       $133.9700    $24,690,671.00     1,550,448



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                                                                         Price                          Rolling
              Transaction Type       Trade Date         Shares         Per Share    Cost/Proceeds     Share Count
              Sales                   3/15/2022          -27,500       $119.4000     $3,283,500.00     1,522,948
              Purchases               3/22/2022           13,700       $133.0900    ($1,823,333.00)    1,536,648
              Sales                   3/28/2022          -90,000       $134.8100    $12,132,900.00     1,446,648
              Sales                   3/28/2022          -65,400       $133.5310     $8,732,927.40     1,381,248
              Sales                   3/31/2022          -87,400       $134.5600    $11,760,544.00     1,293,848
              Purchases               4/11/2022            2,700       $124.9800      ($337,446.00)    1,296,548
              Purchases               4/19/2022            2,000       $137.0500      ($274,100.00)    1,298,548
              Sales                   4/21/2022          -13,700       $135.4600     $1,855,802.00     1,284,848
              Sales                   4/29/2022          -51,400       $124.7000     $6,409,580.00     1,233,448
              Purchases                5/2/2022            1,400       $124.8933      ($174,850.62)    1,234,848
              Sales                   5/19/2022         -186,451       $106.5679    $19,869,691.52     1,048,397
              Sales                   5/31/2022         -173,800       $118.8500    $20,656,130.00       874,597
              Sales                    6/8/2022          -25,000       $122.4000     $3,060,000.00       849,597
              Sales                   6/21/2022          -17,800       $108.9527     $1,939,358.06       831,797
              Purchases               6/22/2022           22,000       $104.9200    ($2,308,240.00)      853,797
              Purchases               6/30/2022              800       $102.2000       ($81,760.00)      854,597
              Purchases               7/20/2022           25,000       $111.1100    ($2,777,750.00)      879,597
              Purchases               7/29/2022          210,640       $114.9200   ($24,206,748.80)    1,090,237
              Sales                    8/5/2022           -1,373       $113.8829       $156,361.22     1,088,864
              Sales                    8/5/2022           -5,558       $113.7996       $632,498.18     1,083,306
              Sales                    8/5/2022          -18,929       $113.5944     $2,150,228.40     1,064,377
              Sales                    8/5/2022           -1,737       $113.9038       $197,850.90     1,062,640
              Sales                    8/8/2022          -31,069       $114.3085     $3,551,450.79     1,031,571
              Sales                    8/8/2022           -4,754       $114.9229       $546,343.47     1,026,817
              Sales                    8/8/2022          -11,585       $113.7840     $1,318,187.64     1,015,232
              Sales                    8/8/2022           -1,576       $115.0632       $181,339.60     1,013,656
              Sales                    8/9/2022          -36,714       $109.9570     $4,036,961.30       976,942
              Sales                   8/31/2022          -38,428       $106.4500     $4,090,660.60       938,514
              Purchases               9/26/2022           21,100        $96.0600    ($2,026,866.00)      959,614
              Purchases               9/30/2022           78,654        $83.1200    ($6,537,720.48)    1,038,268
              Sales                   10/20/2022         -10,600        $86.8300       $920,398.00     1,027,668
              Sales                   10/31/2022          -9,592        $92.7878       $890,020.58     1,018,076
              Purchases               11/18/2022          55,400       $105.4200    ($5,840,268.00)    1,073,476
              Purchases               11/21/2022          40,300       $103.8781    ($4,186,287.43)    1,113,776
              Sales                   11/30/2022        -438,176       $109.6900    $48,063,525.44       675,600
              Sales                   12/9/2022             -300       $109.4200        $32,826.00       675,300
              Purchases               12/29/2022          47,000       $117.3500    ($5,515,450.00)      722,300
              Purchases               12/30/2022          17,300       $117.0100    ($2,024,273.00)      739,600
              Sales                   1/11/2023          -55,400       $127.9400     $7,087,876.00       684,200
              Purchases               1/13/2023            6,000       $128.8500      ($773,100.00)      690,200
              Purchases               1/17/2023            5,800       $128.1400      ($743,212.00)      696,000
              Sales                   1/30/2023          -47,000       $126.3700     $5,939,390.00       649,000
              Purchases               1/31/2023           55,500       $127.3300    ($7,066,815.00)      704,500
              Purchases                2/7/2023            9,100       $125.3300    ($1,140,503.00)      713,600
              Sales                   2/21/2023           -6,686       $121.8528       $814,707.82       706,914
              Purchases               2/22/2023           15,731       $119.9000    ($1,886,146.90)      722,645
              Sales                   2/28/2023          -39,734       $118.7900     $4,720,001.86       682,911



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                                                                         Price                          Rolling
              Transaction Type       Trade Date         Shares         Per Share    Cost/Proceeds     Share Count
              Sales                    3/1/2023          -12,500       $118.5800     $1,482,250.00       670,411
              Purchases                3/7/2023           91,200       $119.5900   ($10,906,608.00)      761,611
              Purchases               3/31/2023            9,204       $122.6400    ($1,128,778.56)      770,815
              Sales                    4/4/2023           -4,600       $123.6900       $568,974.00       766,215
              Purchases               4/18/2023            1,700       $126.2100      ($214,557.00)      767,915
              Purchases               4/28/2023            9,319       $126.7200    ($1,180,903.68)      777,234
              Purchases                5/9/2023            6,220       $125.1000      ($778,122.00)      783,454
              Purchases               5/25/2023           80,699       $108.1743    ($8,729,557.84)      864,153
              Purchases               5/26/2023           22,321       $108.0229    ($2,411,179.15)      886,474
              Purchases               5/30/2023          200,893       $106.7072   ($21,436,729.53)    1,087,367
              Purchases               5/31/2023          532,555       $105.2600   ($56,056,739.30)    1,619,922
              Sales                    6/7/2023          -38,467       $107.0900     $4,119,431.03     1,581,455
              Purchases               6/28/2023            2,500       $113.0300      ($282,575.00)    1,583,955
              Purchases               6/30/2023            3,109       $110.3700      ($343,140.33)    1,587,064
              Sales                    7/6/2023          -21,000       $105.1000     $2,207,100.00     1,566,064
              Sales                   7/13/2023          -13,031       $107.8400     $1,405,263.04     1,553,033
              Sales                   7/20/2023          -12,052       $107.8009     $1,299,216.45     1,540,981
              Sales                   7/31/2023         -159,300       $110.3900    $17,585,127.00     1,381,681
              Purchases               8/10/2023            5,023       $111.2258      ($558,687.19)    1,386,704
              Purchases               8/15/2023            9,756       $106.5500    ($1,039,501.80)    1,396,460
              Sales                   8/21/2023          -20,600       $102.8600     $2,118,916.00     1,375,860
              Sales                   8/29/2023          -22,200       $101.7700     $2,259,294.00     1,353,660
              Sales                   8/29/2023          -18,170       $101.1523     $1,837,937.29     1,335,490
              Sales                   8/31/2023          -69,950       $101.7100     $7,114,614.50     1,265,540
              Sales                    9/7/2023          -23,200        $97.9300     $2,271,976.00     1,242,340
              Purchases               9/13/2023          239,943        $96.1300   ($23,065,720.59)    1,482,283
              Sales                   9/14/2023          -25,500        $97.1900     $2,478,345.00     1,456,783
              Sales                   9/19/2023          -17,400        $94.6200     $1,646,388.00     1,439,383
              Sales                   9/19/2023         -137,034        $94.7538    $12,984,492.23     1,302,349
              Sales                   9/19/2023           -7,433        $94.7601       $704,351.82     1,294,916
              Sales                   9/26/2023          -12,300        $90.3491     $1,111,293.93     1,282,616
              Sales                   9/27/2023          -22,800        $89.4200     $2,038,776.00     1,259,816
              Purchases               9/28/2023           10,000        $89.6300      ($896,300.00)    1,269,816
              Sales                   9/29/2023          -80,800        $95.6200     $7,726,096.00     1,189,016
              Purchases               10/5/2023           13,000        $95.7800    ($1,245,140.00)    1,202,016
              Sales                   10/13/2023         -22,500        $99.9100     $2,247,975.00     1,179,516
              Sales                   10/13/2023          -9,756        $99.9100       $974,721.96     1,169,760
              Sales                   10/19/2023          -8,800       $103.0500       $906,840.00     1,160,960
              Purchases               10/26/2023          17,832       $100.8662    ($1,798,646.08)    1,178,792
              Sales                   10/31/2023         -64,300       $102.7700     $6,608,111.00     1,114,492
              Purchases               11/3/2023              354       $107.0290       ($37,888.27)    1,114,846
              Purchases               11/6/2023           23,946       $106.9764    ($2,561,656.87)    1,138,792
              Sales                   11/9/2023         -172,000       $107.0000    $18,404,000.00       966,792
              Sales                   11/9/2023          -11,100       $107.0000     $1,187,700.00       955,692
              Purchases               11/15/2023          24,100       $107.8200    ($2,598,462.00)      979,792
              Sales                   11/16/2023         -17,600       $107.6100     $1,893,936.00       962,192
              Sales                   11/29/2023         -58,280       $110.8878     $6,462,540.98       903,912



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                                                                         Price                          Rolling
              Transaction Type       Trade Date         Shares         Per Share    Cost/Proceeds     Share Count
              Sales                   11/30/2023        -314,300       $110.1239    $34,611,941.77       589,612
              Purchases               12/6/2023           61,900       $116.3557    ($7,202,417.83)      651,512
              Sales                   12/7/2023           -3,800       $114.9548       $436,828.24       647,712
              Purchases               12/8/2023           17,715       $115.8432    ($2,052,162.29)      665,427
              Purchases               12/13/2023         172,000       $121.1700   ($20,841,240.00)      837,427
              Purchases               12/14/2023          14,900       $121.6252    ($1,812,215.48)      852,327
              Sales                   12/20/2023          -9,049       $121.4300     $1,098,820.07       843,278
              Purchases               12/21/2023          19,700       $122.1828    ($2,407,001.16)      862,978
              Sales                   12/28/2023         -18,200       $108.8499     $1,981,068.18       844,778
              Purchases               12/29/2023          10,000       $108.5700    ($1,085,700.00)      854,778
              Purchases                1/3/2024           14,300       $104.5810    ($1,495,508.30)      869,078
              Purchases               1/11/2024           72,784       $104.9821    ($7,641,017.17)      941,862
              Purchases               1/16/2024           70,751       $102.1650    ($7,228,275.92)    1,012,613
              Sales                   1/17/2024          -18,400       $100.4353     $1,848,009.52       994,213
              Sales                   1/24/2024           -9,500       $100.9603       $959,122.85       984,713
              Sales                   1/24/2024          -61,881       $101.1984     $6,262,258.19       922,832
              Sales                   1/25/2024           -6,600       $100.5804       $663,830.64       916,232
              Purchases               1/31/2024           66,161       $101.5300    ($6,717,326.33)      982,393
              Sales                    2/1/2024          -22,200       $101.4630     $2,252,478.60       960,193
              Purchases                2/7/2024           12,200       $103.7897    ($1,266,234.34)      972,393
              Sales                    2/8/2024             -800       $103.9040        $83,123.20       971,593
              Purchases               2/14/2024           22,500       $105.8603    ($2,381,856.75)      994,093
              Purchases               2/20/2024          290,000       $103.3000   ($29,957,000.00)    1,284,093
              Purchases               2/21/2024            4,300       $104.8848      ($451,004.64)    1,288,393
              Sales                   2/27/2024           -2,800       $104.6720       $293,081.60     1,285,593
              Purchases               2/28/2024           11,200       $104.8282    ($1,174,075.84)    1,296,793
              Sales                   2/29/2024          -70,500       $103.9655     $7,329,567.75     1,226,293
              Purchases                3/6/2024           60,100        $97.6300    ($5,867,563.00)    1,286,393
              Purchases                3/6/2024            4,500        $97.5553      ($438,998.85)    1,290,893
              Sales                   3/12/2024          -10,350       $100.4394     $1,039,547.79     1,280,543
              Purchases               3/13/2024           21,300       $101.6518    ($2,165,183.34)    1,301,843
              Sales                   3/13/2024          -10,350       $101.3112     $1,048,570.92     1,291,493
              Sales                   3/22/2024           -6,222        $93.4680       $581,557.90     1,285,271
              Sales                   3/25/2024           -6,549        $93.6105       $613,055.16     1,278,722
              Sales                   3/26/2024          -10,041        $92.9297       $933,107.12     1,268,681
              Sales                   3/27/2024          -10,040        $93.4700       $938,438.80     1,258,641
              Sales                   3/28/2024          -17,600        $93.9800     $1,654,048.00     1,241,041
              Sales                    4/3/2024          -23,600        $90.8144     $2,143,219.84     1,217,441
              Sales                   4/12/2024          -10,961        $92.0327     $1,008,770.42     1,206,480
              Sales                   4/18/2024         -290,000        $95.7400    $27,764,600.00       916,480
              Sales                   4/23/2024             -126        $94.0199        $11,846.51       916,354
              Sales                   4/30/2024          -53,471        $92.2600     $4,933,234.46       862,883
              Purchases                5/2/2024           28,700        $92.2098    ($2,646,421.26)      891,583
              Sales                    5/3/2024          -60,100        $92.1500     $5,538,215.00       831,483
              Purchases                5/8/2024           22,700        $93.3533    ($2,119,119.91)      854,183
              Purchases                5/9/2024           12,700        $93.5487    ($1,188,068.49)      866,883
              Purchases               5/10/2024           12,700        $91.6651    ($1,164,146.77)      879,583



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                                                                         Price                          Rolling
              Transaction Type       Trade Date         Shares         Per Share    Cost/Proceeds     Share Count
              Purchases               5/15/2024           14,400        $91.3003    ($1,314,724.32)      893,983
              Purchases               5/16/2024            5,500        $92.3745      ($508,059.75)      899,483
              Purchases               5/22/2024           32,400        $92.4951    ($2,996,841.24)      931,883
              Purchases               5/23/2024           32,600        $91.5194    ($2,983,532.44)      964,483
              Sales                   5/28/2024           -4,650        $91.9866       $427,737.69       959,833
              Purchases               5/29/2024           22,700        $92.1166    ($2,091,046.82)      982,533
              Sales                   5/29/2024           -4,603        $92.0163       $423,551.03       977,930
              Sales                   5/30/2024           -4,673        $93.1887       $435,470.80       973,257
              Sales                   5/31/2024         -113,690        $95.0500    $10,806,234.50       859,567
              Purchases                6/5/2024           16,700        $94.1351    ($1,572,056.17)      876,267
              Purchases                6/7/2024            4,436        $96.8615      ($429,677.61)      880,703
              Purchases               6/13/2024            4,700        $94.0638      ($442,099.86)      885,403
              Sales                   6/28/2024           -9,500        $75.3726       $716,039.70       875,903
              Sales                   6/28/2024          -14,500        $75.3700     $1,092,865.00       861,403
              Sales                    7/2/2024          -67,125        $75.9569     $5,098,606.91       794,278
              Sales                    7/3/2024          -22,375        $75.2856     $1,684,515.30       771,903
              Sales                   7/24/2024          -86,500        $71.9297     $6,221,919.05       685,403
              Purchases               7/31/2024              100        $74.8600        ($7,486.00)      685,503
              Sales                   8/30/2024          -28,261        $82.8878     $2,342,492.12       657,242
              Purchases                9/5/2024          180,000        $80.6692   ($14,520,456.00)      837,242
              Sales                    9/5/2024         -180,713        $80.6800    $14,579,924.84       656,529
              Sales                   9/10/2024          -86,500        $78.0954     $6,755,252.10       570,029
              Purchases               9/12/2024          115,000        $78.4000    ($9,016,000.00)      685,029
              Purchases               9/12/2024           11,200        $78.2313      ($876,190.56)      696,229
              Sales                   9/19/2024           -7,100        $81.9865       $582,104.15       689,129
              Sales                   9/19/2024           -5,400        $81.7546       $441,474.84       683,729
              Sales                   9/20/2024          -57,168        $86.2858     $4,932,786.61       626,561
              Purchases               9/26/2024            8,000        $89.5180      ($716,144.00)      634,561
              Sales                   9/30/2024          -21,648        $88.4000     $1,913,683.20       612,913
              Closing Balance         10/1/2024          612,913                                         612,913




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